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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF CALIFORNI

 UNITED STATES OF AMERICA,
                          Plaintiff,
                                v.                  COMPLAINT FOR VIOLATION OF:
                                                    Title 8, USC 1325 Illegal Entry
                                                    (misdemeanor)


 Modesto MARTIN-Chavez,




        The undersigned complainant being, duly sworn, states:
 That on or about May 9, 2018, within the Southern District of California, defendant, Modesto
 MARTIN-Chavez, an alien, did knowingly enter or attempt to enter the United States at any
 time and place other than as designated by Immigration Officers, and elude examination and
 inspection by Immigration Officers, a misdemeanor; in violation of Title 8, United States Code,
 Section 1325(a)(1).

 And the complainant further states that this complaint is based on the attached probable cause
 statement, which is incorporated herein by reference.




                                                    SIGNATURE OF COMPLAINANT
                                                    David R. Steiman
                                                    Border Patrol Agent

SWORN TO BEFORE ME AND SUBSCRIBED IN~MY
                                   PRESENCE,
THIS 10thDAYOFMay,2018.                             ~
                                                    B     ARD G. SKOMA~L------
                                                    United States Magistrate Judge
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CONTINUATION OF COMPLAINT:
Modesto MARTIN-Chavez



                              PROBABLE CAUSE STATEMENT
On May 9, 2018, Supervisory Border Patrol Agent J. Duncan was performing his assigned
duties in the Brown Field Border Patrol Station's area of responsibility. At approximately 6:30
AM, as Agent Duncan was driving on Otay Mountain Truck Trail, he observed five individuals
running uphill, out of a canyon, approximately 100 yards in front of him. As Agent Duncan
approached, he observed the individuals cross over the trail and go into the dense brush. Agent
Duncan responded to the area where he last saw the group, and observed fresh shoe prints and
scuff marks going into the dense brush. After a brief search, Agent Duncan observed three
individuals, including one later identified as the defendant, Modesto MARTIN-Chavez, laying
in the brush. This area is located approximately three miles east of the Otay Mesa, California
Port of Entry and approximately one and a half miles north of the United States/Mexico
International Boundary. Agent Duncan identified himself as a Border Patrol agent and
conducted an immigration inspection. All subjects, including MARTIN, stated that they are
citizens and nationals of Guatemala and do not possess any immigration documents that would
allow them to enter or remain in the United States legally. At approximately 7:05 AM, Agent
Duncan placed all three individuals, to include MARTIN, under arrest. The remaining two
individuals were arrested by a nearby Border Patrol agent.

The defendant was advised of his Miranda rights. The defendant stated that he understood his
rights and was willing to answer questions without an attorney present. The defendant stated
that he is a citizen and national of Guatemala illegally present in the United States. MARTIN
stated he joined the caravan in Tepic, Nayarit, Mexico. The defendant stated that he illegally
entered the United States on May 9, 2018 with an intended destination ofBoston,
Massachusetts.
